  Case 12-43127        Doc 33     Filed 06/19/15 Entered 06/19/15 08:20:07
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                                                                                06/19/2015
                           UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS


IN RE:                                       §
FABER, JEFFREY LLOYD                         §      CASE NO. 12-43127-BTR
FABER, MARY JO                               §
                                             §      CHAPTER 7
DEBTOR(s).                                   §


                         ORDER DISCHARGING CHAPTER 7 TRUSTEE
                             AND CLOSING CHAPTER 7 CASE

       Upon the filing of the Chapter 7 Trustee’s Final Account and Distribution Report
Certification that the Estate Has Been Fully Administered and Application to be Discharged
(TDR) on June 16, 2015, the Court finds that the bankruptcy estate arising in the above-
referenced case has been fully administered. Accordingly, the Court finds that just cause exists
for the entry of the following order.


       IT IS THEREFORE ORDERED that Christopher J. Moser is hereby DISCHARGED of all

duties as the duly-appointed Trustee of the chapter 7 bankruptcy estate created in the above

referenced case.

       IT IS FURTHER ORDERED that the above-referenced Chapter 7 case is hereby

CLOSED.

                                                      Signed on 6/19/2015

                                                                                          MD
                                            HONORABLE BRENDA T. RHOADES,
                                            UNITED STATES BANKRUPTCY JUDGE
